Case 2:20-cv-10744-PA-AS Document 1 Filed 11/24/20 Page 1 of 20 Page ID #:1


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 6   and DAN WOLFE
 7

 8                         UNITED STATES DISTRICT COURT
 9                       CENTRAL DISTRICT OF CALIFORNIA
10

11   HAWTHORNE HANGAR                    )            CASE NO.
     OPERATIONS, L.P. a California       )
12   limited partnership; DAN WOLFE an   )
     individual,                         )            COMPLAINT FOR:
13                                       )
                         Plaintiffs,     )            1) VIOLATION OF 15 USC § 1,
14                                       )            conspiracy to restrain intestate
           vs.                           )            commerce;
15                                       )
                                         )            2) VIOLATION OF 15 USC § 2,
16   HAWTHORNE AIRPORT, LLC., a          )            unlawful attempt to monopolize
     Delaware limited liability company; )            interstate commerce;
17   ADVANCED AIR, LLC., a California )
     limited liability company; DAVID    )            3) DECLARATORY RELIEF THAT
18   WEHRLY, an individual; LEVI         )            RESTRICTIVE COVENANTS ARE
     STOCKTON, an individual, The CITY )              VOID PURSUANT TO CALIFORNIA
19   OF HAWTHORNE, a municipal           )            Business & Professions Code §16600;
     corporation.                        )
20                                       )            4) NUISANCE ABATEMENT
                         Defendants.     )            California Code of Civil Procedure
21   _______________________________ )                section 731
22                                                    DEMAND FOR TRIAL BY JURY
23

24         COME NOW Plaintiffs HAWTHORNE HANGAR OPERATIONS, L.P. and

25   DAN WOLFE and for cause of action against Defendants, and each of them,

26   complain and alleges as follows:

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                COMPLAINT FOR ANTITRUST VIOLATIONS , DECLARATORY AND INJUNCTIVE RELIEF
Case 2:20-cv-10744-PA-AS Document 1 Filed 11/24/20 Page 2 of 20 Page ID #:2


 1                               JURISDICTION AND VENUE
 2         1.       This action is brought pursuant to sections 1 and 2 of Title 15 of the
 3   United States Code, The Sherman Antitrust Act. This honorable Court has federal
 4   question subject matter jurisdiction pursuant to 16 U.S.C. section 4, 28 U.S.C.
 5   Section 1332, and 28 U.S.C. Section 2201 over the first and second claims for relief.
 6   The third and fourth claims for declaratory relief and nuisance abatement are state
 7   law claims for which 28 U.S.C. section 1367(a) provides supplemental jurisdiction
 8         2.       Venue is proper in the Central District of California because the
 9   operative events upon which this action is based occurred therein and each of the
10   Defendants maintains offices and an official presence therein. 28 U.S.C. Section
11   1391(b) and ( c).
12                                     THE PARTIES
13         3.       At all times mentioned herein, Plaintiff HAWTHORNE HANGAR
14   OPERATIONS, L.P. (hereinafter HHO) was and now is a California limited
15   partnership.
16         4.       That at all times mentioned herein, Plaintiff DAN WOLFE (hereinafter
17   Wolfe) was and now is an individual residing in the State of California in the County
18   of Los Angeles.
19         5.       Defendant HAWTHORNE AIRPORT, LLC., (hereinafter HA) was and
20   now is a Delaware limited liability company with its principal place of business in
21   the State of California, County of Los Angeles.
22         6.       That at all times mentioned herein, Defendant ADVANCED AIR , LLC.
23   (hereinafter AA) was and now is a California limited liability company with its
24   principal place of business in the State of California, County of Los Angeles.
25         7        Defendant DAVID WEHRLY (hereinafter Wehrly) was and now is an
26   individual residing in the State of California, County of Los Angeles and at all
27   relevant times was the controlling principal of HAWTHORNE AIRPORT, LLC. and
28   ADVANCED AIR, LLC.

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                COMPLAINT FOR ANTITRUST VIOLATIONS , DECLARATORY AND INJUNCTIVE RELIEF
Case 2:20-cv-10744-PA-AS Document 1 Filed 11/24/20 Page 3 of 20 Page ID #:3


 1         8.     Defendant LEVI STOCKTON (hereinafter Stockton) was and now is an
 2   individual residing in the State of California, County of Los Angeles. Plaintiffs are
 3   informed and believe that LEVI STOCKTON at all relevant times was and is an
 4   equity owner of HAWTHORNE AIRPORT, LLC. and ADVANCED AIR, LLC. as
 5   well as a principal.
 6         9.     Defendant CITY OF HAWTHORNE (hereinafter The City) is a
 7   municipal corporation organized and existing under the laws of the State of
 8   California. The City is named herein as a nominal defendant for purposes of being
 9   bound by the judgment on the requested relief that the master ground lease options
10   for sections 3, 8 , and 10 between the City, and HA be declared void.
11                               NATURE OF THE ACTION
12         10.    Wehrly, HA, AA, and Stockton have conspired among themselves to
13   restrain interstate commerce at the Hawthorne Municipal Airport. With the
14   complicity of the City, they have acquired a defacto monopoly over all ground leases
15   and aviation services at the airport, and have the ability to exclude any competition.
16   The defendants have attempted to prevent Plaintiffs from engaging in competing fuel
17   sales at the airport. Additionally, the City has refused to lease to Plaintiffs an
18   unutilized or underutilized parcel of the airport adjacent to Plaintiffs’ FBO that
19   would allow Plaintiffs to expand their operations and offer enhanced services to the
20   flying public, because it is subject to an exclusive master ground lease that it granted
21   to HA.
22         11.    The purpose of this action is to break up the monopoly enjoyed by
23   Wehrly, HA, AA, and Stockton as to the master ground lease and to enjoin them
24   from engaging in further restraint of commerce at the airport for the benefit of
25   Plaintiffs as well as the general public. Plaintiffs also seek damages for their
26   individualized harm caused by Defendants’ actions.
27

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                 COMPLAINT FOR ANTITRUST VIOLATIONS , DECLARATORY AND INJUNCTIVE RELIEF
Case 2:20-cv-10744-PA-AS Document 1 Filed 11/24/20 Page 4 of 20 Page ID #:4


 1         STATEMENT OF FACTS APPLICABLE TO ALL CLAIMS
 2         12.    The Hawthorne Municipal Airport, also known as Jack Northrop Field,
 3   FAA identifier KHHR is a general aviation public use airport that was built by the
 4   City in 1939 as part of a deal to entice Jack Northrop to build his aviation factory
 5   adjacent to the airport. This iconic location that was once the Northrop Grumman
 6   headquarters is at the center of this action.
 7         13.    The airport is now and has always been owned by the City. However,
 8   HA, AA, Wehrly, and Stockton have obtained a monopoly over every service
 9   rendered to the consuming public at the airport, and control virtually all aspects of
10   the airports operations, with the exception of aircraft movement and air traffic
11   control functions that are within the exclusive province of the FAA.
12         14.    The airport is subdivided into eleven separate sections numbered 1
13   through 11. In or about 2005 the City of Hawthorne entered into a master
14   ground lease agreement with Defendant Hawthorne Airport, LLC. for thirty-five
15   years with two separate five year renewal options for sections 1, 2, 4, 5, 6, 7, 9 and
16   11. HA was also given an option to lease the remaining sections, 3, 8, and 10. On
17   October 25, 2007 HA exercised the option to lease sections 3, 8, and 10 and has
18   therefore acquired from the City a constructive exclusive right over the entire aircraft
19   non movement area of the airport. Non movement areas are those portions of the
20   airport that are not under the control of the FAA tower, such as runways and
21   taxiways.
22         15.     This master Ground Lease and subsequent options were entered into in
23   violation of 49 U.S. C. Section 40103 (e) and FAA policy which prohibits an airport
24   sponsor (the City) from granting options or preferences on future airport lease sites
25   to a single service provider, which may be construed as intent to grant an exclusive
26   right. HA, since exercising the option to lease sections 3, 8, and 10 has not used or
27   has underutilized section 8 and has possessed sections 3, 8, and 10 rent free from the
28   City. The constructive exclusive right given to HA was completed when HA was

                                                   4
                 COMPLAINT FOR ANTITRUST VIOLATIONS , DECLARATORY AND INJUNCTIVE RELIEF
Case 2:20-cv-10744-PA-AS Document 1 Filed 11/24/20 Page 5 of 20 Page ID #:5


 1   allowed to lease sections 3, 8, and 10 in violation of Grant Assurances 5, 22, 23, 24
 2   and 25. A grant assurance is an obligation that an airport sponsor enters into when it
 3   accepts FAA administered financial assistance. Exhibit 1 is a true and correct copy
 4   of the “Ground Lease” granted to HA. Plaintiffs allege that Defendant HA to this
 5   day has not used or has underused many sections of the airport, including, but not
 6   limited to section 8 and are simply occupying these sections to maintain exclusive
 7   control over the airport.
 8         16.    Since obtaining the Ground Lease, Defendant HA in conjunction with
 9   AA have operated as a fixed base operator (FBO) complete with a terminal, offices,
10   a restaurant, on demand charter services, and fuel dispensing facilities. By being the
11   master lease holder, HA, Wehrly, and Stockton are able to exclude from the airport
12   any business seeking to compete with the services they and AA provide. HA and
13   AA are owned and controlled by Wehrly and Stockton. Because they have such
14   plenary control over the airport, Defendants actually believe and have represented to
15   others that they “own the airport.” At a deposition given by Wehrly in a prior
16   litigation he was asked the following question and gave the following answer:
17         “Q.    Do you presently hold any interest, either a leaseholder
18                or ownership interest, at Hawthorne Airport?
19         A.     I am involved in entities that have ownership of the
20                airport.”
21         17.    Between 2005 and 2017, HA and AA operated the only FBO at the
22   airport and were the exclusive fuel provider. In 2009 Plaintiff Hawthorne Hangar
23   Operations, L.P. (then co-owned by Wolfe and Wehrly) were granted a Through-
24   The-Fence Agreement and in 2017 a fuel concession at the airport was granted by the
25   City of Hawthorne following a series of transactions in which Wolfe and Wehrly
26   jointly purchased the former Northrop headquarters property adjacent to the airport,
27   which had underground fuel tanks as well as a large hangar. Although the HHO
28   parcel is actually not on the airport property, but adjacent thereto, the Through-The-

                                                   5
                 COMPLAINT FOR ANTITRUST VIOLATIONS , DECLARATORY AND INJUNCTIVE RELIEF
Case 2:20-cv-10744-PA-AS Document 1 Filed 11/24/20 Page 6 of 20 Page ID #:6


 1   Fence Agreement allows it to function as if it actually is on the airport. This is the
 2   only airport property that is not owned by the City of Hawthorne or is subject to
 3   HA’s master lease.
 4         18.    In 2009, Plaintiff Wolfe who is in the business of aviation
 5   cinematography was looking for a hangar where he could consolidate his aircraft
 6   used in aerial filming. Defendant Wehrly became aware of the fact that Wolfe was
 7   looking for a hangar and connected with Wolfe via Stockton. Wehrly had presented
 8   himself as willing to partner with Wolfe to purchase the former headquarters of
 9   Northrop Corporation immediately adjacent to the airport. Wehrly’s motivation to
10   purchase the Northrop parcel was to control the only remaining airport property that
11   was not owned by the City and not subject to the HA master lease. The Northrop
12   parcel included a large hangar and two existing 15,000 gallon underground fuel
13   tanks that were previously used by Northrop to fuel its aircraft. There is also
14   photographic evidence showing a Chevron fuel sign on the premises, a remnant from
15   the 1990's when Northrop Grumman Aviation, Inc. operated a fueling FBO on the
16   premises as well as an FAR part 135 charter service. Wehrly further sought to
17   preserve his monopoly through the insertion in the Purchase/Sale Agreement
18   restrictive covenants which sought to limit Wolfe’s ability to sell fuel to the general
19   public. Wehrly, HA, AA, and Stockton have since sought to enforce these
20   restrictions against Wolfe and HHO. The restrictive covenants are anti competitive
21   and violate 49 U.S. C. Section 40103 (e). They are also void under California
22   Business & Professions Code section 16600 as well as Sections 1 and 2 of Title 15 of
23   the United States Code.
24         19.    In August of 2009 Hawthorne Hangar Operations, L.P. was formed as a
25   partnership between Wehrly and Wolfe to purchase the Northrop property from seller
26   MS Kearny Northrop Avenue LLC (hereinafter MS Kearny) for $3.3 million.
27         20.    After the formation of HHO, an initial Purchase and Sale agreement
28   (PSA) for HHO, dated August 12, 2009, Exhibit 2 was signed by Wehrly and Wolfe

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                 COMPLAINT FOR ANTITRUST VIOLATIONS , DECLARATORY AND INJUNCTIVE RELIEF
Case 2:20-cv-10744-PA-AS Document 1 Filed 11/24/20 Page 7 of 20 Page ID #:7


 1   to purchase the Northrop parcel. The August 2009 PSA did not contain any
 2   restrictions against selling fuel to any aircraft. The absence of a fueling restriction
 3   was expressly memorialized in a September 3, 2009 letter sent to Wehrly by Wolfe,
 4   and which Wehrly executed which provided in pertinent part that Wehrly and Wolfe
 5   “agreed to work together to provide rental/office space along with fuel and fuel
 6   services for high revenue producing outside tenants” the letter further provided that
 7   “included in the purchase price for the facility are two existing underground fuel
 8   tanks. The tanks will be utilized to provide fuel to HHO/HHM partners at direct
 9   cost...to HHO/HHM tenants at a price that will be determined by the
10   partners...pricing for invitees and visitors to the facility to be determined..” Exhibit 3
11         21.    A few days prior to the scheduled closing date on the PSA, one Hoonie
12   Kang, Vice President of MS Kearny who unbeknown to Wolfe, also had an equity
13   interest along with Wehrly in their FBO and fueling operations then known as
14   Million Air, now AA dba Jet Center, came to the premises and informed Wolfe that
15   the agreement had been changed. Kang falsely represented to Wolfe that Northrop
16   was insisting that a fueling restriction be included in the agreement or Northrop
17   would “pull out of the deal.” However, the seller was MS Kearny Northrop Ave.,
18   LLC., not Northrop. MS Kearny, an entity unrelated to Northrop had purchased the
19   property for resale. Kang had inserted a fueling restriction as section 10.4 to the
20   PSA provides as follows:
21                “10.4 Fuel Tanks. Buyer covenants and agrees that Buyer
22                shall not use the fuel tanks located on the Real Property for
23                any purpose other than the fueling and refueling of (I) airplanes,
24                helicopters and other equipment owned or directly managed
25                by Buyer, and (ii) other airplanes, helicopters and other
26                equipment which have been located on and occupied the
27                Real Property for at least thirty (30) days pursuant to the
28                terms and provisions of a written lease. The foregoing

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                 COMPLAINT FOR ANTITRUST VIOLATIONS , DECLARATORY AND INJUNCTIVE RELIEF
Case 2:20-cv-10744-PA-AS Document 1 Filed 11/24/20 Page 8 of 20 Page ID #:8


 1                covenant shall survive the Close of Escrow.”
 2         22.    Wolfe objected to the section 10.4 fueling restriction. However, Kang
 3   further falsely represented that Northrop was insisting on 10.4 because Northrop had
 4   been subject to a similar fueling restriction when it was operating at the airport.
 5   Wolfe told Kang that he did not believe that Northrop was insisting on the fueling
 6   restriction and reserved the right to verify that directly with Northrop. However, it
 7   was Friday, with escrow scheduled to close the following Monday, making it
 8   virtually impossible for Wolfe to verify Kang’s representation before the close of
 9   escrow. In order to avoid losing the deal, Wolfe executed a revised PSA dated
10   November 12, 2009 containing section 10.4. Exhibit 4.
11         23.    After the close of escrow, Wolfe spoke with various Northrop
12   executives who put him in contact with Northrop’s real estate attorneys. Northrop’s
13   real estate attorneys denied writing section 10.4 and denied that Northrop was
14   subject to fueling restrictions to their knowledge. Wolfe further learned from the
15   CEO of MS Kearny that he too had no knowledge of 10.4. Finally, Wolfe discovered
16   that Hoonie Kang was a co-owner with Wehrly of the Million Air fueling concession
17   on the airport, the immediate predecessor to AA and which was taken over by AA.
18         24.    Concurrently with the close of escrow on November 16, 2009, a
19   Through-The-Fence Agreement (TTF) between HHO and the City of Hawthorne
20   became effective. The TTF permitted all aircraft visiting the airport to access the
21   HHO property and contemplated fuel being sold when the fuel farm became
22   operational, which would require a significant investment of capital by the HHO
23   partners. The TTF is attached hereto as Exhibit 5.
24         25.     In 2014 Wolfe sought to buy out Wehrly’s partnership interest in HHO
25   primarily because Wehrly refused to proceed with the renovation of the fuel facility.
26   Wehrly agreed to being bought out, but insisted that the section 10.4 fueling
27   restriction in the Northrop PSA be made a part of the buyout agreement. However,
28   in an email by Wehrly to Wolfe on 2/14/2014, Wehrly sought an agreement from

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                 COMPLAINT FOR ANTITRUST VIOLATIONS , DECLARATORY AND INJUNCTIVE RELIEF
Case 2:20-cv-10744-PA-AS Document 1 Filed 11/24/20 Page 9 of 20 Page ID #:9


 1   Wolfe that he would not compete with the existing fuel concession granted to HA
 2   and AA in any way. Wolfe refused. The insistence on the fueling restriction was
 3   intended solely to shield the defendants from competing fuel sales by Plaintiffs.
 4   Wolfe refused. The HHO partnership agreement provides for a “shotgun” forced sale
 5   where one partner could make an offer and if the other did not accept, then the
 6   offeror gets it for that price. No counteroffers are allowed. In order to avoid the
 7   “shotgun” forced sale, a compromise was reached where a provision was inserted
 8   into the buy out agreement, section 10.2, whereby Wolfe simply acknowledges that
 9   10.4 was part of the Northrop PSA. Exhibit 6. At this time Wolfe did not intend for
10   HHO to become a fueling FBO, but was preserving his right to do so in the future
11   and clearly expressed to Wehrly that he was also preserving his right to challenge the
12   fueling restriction, if and when HHO decided to become a fueling FBO.
13         26.    After the 2014 buyout, Wolfe expended $1.2 million to bring the fuel
14   farm operational. Due to the substantial expense that was incurred, Wolfe first
15   considered that he might need to sell fuel to the public in order to recoup the capital
16   investment in the fuel farm.
17         27.    In 2016 HHO applied for a fuel concession agreement (the HHO FCA)
18   from the City of Hawthorne. Between August 2016 and April 2017, while HHO’s
19   application for the FCA was pending with the City, Wehrly, AA and HA petitioned
20   the City to deny HHO’s requested fuel concession agreement, insisting that HHO
21   could not sell fuel to the public because of the restrictions imposed by section 10.4.
22   They also raised other meritless objections to the FCA. Nevertheless, the City
23   granted HHO the requested FCA. Attached hereto as Exhibit 7 is the FCA.
24         28.    Even before the grant of the FCA to HHO, Wehrly, HA, AA, and
25   Stockton conspired among themselves to monopolize fuel sales at the airport and
26   attempt to exclude Plaintiffs. In an email dated April 21, 2014 Wehrly makes the
27   following admission:
28                “We do not want him (Wolfe) to compete with us in fuel sales.

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                 COMPLAINT FOR ANTITRUST VIOLATIONS , DECLARATORY AND INJUNCTIVE RELIEF
Case 2:20-cv-10744-PA-AS Document 1 Filed 11/24/20 Page 10 of 20 Page ID #:10


 1                As long as we are involved in the airport we want restrictions
 2                on any party using fuel tanks, especially tanks that are off
 3                airport property to facilitate the sale of fuel on the airport.”
 4   Following the grant of the FCA, the Wehrly, HA, AA, and Stockton Defendants
 5   continued in their conspiracy to restrain competition by pursuing a multifaceted
 6   course of conduct that included the filing of litigation, making demands on the City
 7   to revoke or restrict HHO’s FCA, and even erecting a physical barrier intended to
 8   obstruct and hinder HHO’s fueling operations, all of which were calculated to
 9   monopolize fuel sales at the airport by hindering Plaintiffs from operating their
10   competing fuel concession. On July 18, 2017 Levi Stockton sent an email to his co-
11   conspirator Wehrly outlining their strategy on how to deal with Wolfe selling fuel.
12   Stockton wrote:
13                “I think it can be navigated around (referring to the FCA)
14                We have the agreement HHO he has with the City
15                lean on but I think regardless what is written if they want to
16                sell fuel they will and the FAA has rules to not limit airport
17                to one fuel provider.
18

19                I think we can raise hell with the FAA and city and put some
20                real push back on flow fee and rights to the airport if they
21                try to sell fuel. Plus sic Malek on them on to the security
22                of the hangar ect.[sic]”
23                “...I think we make it hard for them if they want to sell to public.”
24         29.    Wehrly, Stockton, HA and AA have executed on and pursued the agreed
25   upon scheme outlined in Stockton’s email. On February 14, 2017 Stockton appeared
26   at the City Council meeting to request the City restrict Plaintiffs’ fueling operations
27   to only its own aircraft and tenants. On April 19, 2017 Stockton sent the City a
28   letter claiming that the fueling agreement with HHO wrongfully created an easement

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                 COMPLAINT FOR ANTITRUST VIOLATIONS , DECLARATORY AND INJUNCTIVE RELIEF
Case 2:20-cv-10744-PA-AS Document 1 Filed 11/24/20 Page 11 of 20 Page ID #:11


 1   across HA’s entire airport leased premises with the intention of preventing aircraft
 2   from accessing the HHO ramp for fuel and services. These efforts and claims were
 3   rejected by the City on April 20, 2017.
 4         30.    Undeterred, HA and AA filed an action for trespass, encroachment,
 5   breach of contract, equitable servitude, and declaratory relief against Plaintiffs on
 6   April 4, 2017 as part of the “Push Back” campaign against Plaintiffs for competing
 7   with HA in selling fuel at the airport. This frivolous lawsuit was voluntarily
 8   dismissed by HA one month later on May 10, 2017 without any payment or other
 9   consideration being provided to HA or AA.
10         31.    When all of the foregoing efforts failed to prevent Plaintiffs from
11   operating their fuel concession, Stockton sought permission from the City to erect a
12   fence on property that HA controlled immediately adjacent to the HHO fuel farm.
13   The City denied permission for the fence and told Stockton not to build it. However,
14   Stockton did so anyway and the fence remains to this day. The fence was intended to
15   prevent pilots from seeing the fueling facility from aircraft transiting taxiway “S,” the
16   principal taxiway at the airport. The fence also presents an obstacle to fueling large
17   aircraft which cannot be maneuvered into position adjacent to the fuel farm because
18   of the obstruction posed by the fence. The fence also posses a material safety
19   hazzard to those working in or about the fuel farm because in the event of a fire,
20   those personnel will be trapped and unable to escape the flames. The fence
21   materially interferes with Plaintiffs’ fueling operations and serves to restrain
22   competition. In addition to having been erected in furtherance of the anti-
23   competitive conspiracy, and to attempt to restrain interstate commerce, the fence
24   constitutes a nuisance under California law, which is subject to abetment.
25         32.    On August 6, 2020, counsel for Wehrly sent a letter to the City of
26   Hawthorne and to HHO demanding that HHO cease and desist from selling fuel to
27   the general public due to an interim arbitration award that Wehrly obtained in a
28   contract action, finding that the aforementioned section 10.4 was valid and

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                 COMPLAINT FOR ANTITRUST VIOLATIONS , DECLARATORY AND INJUNCTIVE RELIEF
Case 2:20-cv-10744-PA-AS Document 1 Filed 11/24/20 Page 12 of 20 Page ID #:12


 1   enforceable for the purpose of attempting to intimidate the City into revoking HHO’s
 2   fuel concession in furtherance of the common plan or scheme between HA, AA,
 3   Wehrly, and Stockton to restrain competition from HHO. In response, the City by
 4   letter dated September 16, 2020 demanded that HHO cease dispensing fuel on airport
 5   property and that such fueling must take place only on HHO property, an irrational,
 6   unreasonable, and onerous restriction, particularly since HA and AA are allowed to
 7   fuel aircraft anywhere on the airport using fuel trucks. This restriction imposed by
 8   the City at the behest of Wehrly, Stockton, HA, and AA puts the Plaintiffs at a
 9   competitive disadvantage and discriminates against the Plaintiffs in violation of 49
10   U.S. C. Section 40103 (e) and Grant Assurances 5, 22, 23, 24 and 25. Plaintiffs have
11   refused to comply with the City’s illegal directive. HHO should have equal airport
12   access via their TTF and FCA.
13         33.    At Wehrly’s deposition in a pending litigation involving some of the
14   same parties pertaining to contract issues, he was asked the following questions and
15   gave the following answers regarding competition for fueling at the airport:
16         “Q.    How do you compete?
17          A.    I define it that he would not be pumping fuel to any airplanes
18                that might ever buy fuel at the airport with the exception of
19                those outlined in 10.4.
20         Q.     So if Mr. Wolfe provided fueling services to aircraft who
21                came to his hangar or this area of the airport, you would
22                consider–and you continue to provide fueling on your end
23                of the airport, would you consider that competing?
24         A.     Yes.
25         Q.     And why so?
26         A.     Do I have to explain that? I mean, he’s–he’s a competitor
27                pumping fuel into an airplane that could have purchased
28                the fuel from us. If an airplane lands here and needs fuel,

                                                  12
                 COMPLAINT FOR ANTITRUST VIOLATIONS , DECLARATORY AND INJUNCTIVE RELIEF
Case 2:20-cv-10744-PA-AS Document 1 Filed 11/24/20 Page 13 of 20 Page ID #:13


 1                we’re a place that they can get it. Any additional people
 2                pumping fuel is a competitor.
 3         Q.     Are you aware of restrictions placed on the airport by the
 4                Federal Government which permit and allow competition
 5                at the airport?
 6         A.     I am and we’re fully supportive of that.
 7         Q.     But not Mr. Wolfe?
 8         A.     He’s not on the airport.”
 9   The difference between actually being on the airport premises such as HA and AA,
10   and operating pursuant to a Through-The-Fence agreement such as HHO is a
11   distinction without substance. Both are providing fuel to aircraft using the airport in
12   the course of interstate commerce and both are subject to the requirements of
13   49 U.S. C. Section 40103 (e). Moreover, all aviation fuel that is dispensed at any
14   airport is brought into the airport from outside sources.
15         34.    On or about January 29, 2019 Wolfe requested a lease from the City for
16   section 8, which is contiguous with the HHO parcel. HA since the inception of their
17   lease option has not developed section 8 and it remains under utilized. Wolfe
18   proposed to develop section 8 to include helipads and hangars, other than a small
19   portion leased by HHO pursuant to the agreement and approved by HA in the tarmac
20   lease to HHO in the TTF signed by Kang. The City denied Wolfe a lease on section 8
21   because HA already had a lease on that section by reason of the aforementioned
22   unlawful option given to them in violation of the Grant Assurances. As a result,
23   Wolfe has been unable to expand his aviation operations and has been adversely
24   affected by the constructive exclusive right given to HA which violates the Grant
25   Assurances. Wehrly, HA, AA, and Stockton have also attempted to prevent HHO
26   from fueling aircraft on the small tarmac portion of section 8 which HHO leased
27   concurrently with the TTF, which is allowed under section 11.6 ( c) thereof.
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                 COMPLAINT FOR ANTITRUST VIOLATIONS , DECLARATORY AND INJUNCTIVE RELIEF
Case 2:20-cv-10744-PA-AS Document 1 Filed 11/24/20 Page 14 of 20 Page ID #:14


 1                FOR A FIRST CLAIM FOR RELIEF FOR VIOLATION
 2                OF 15 U.S.C. SECTION 1 CONSPIRACY TO RESTRAIN
 3                INTERSTATE COMMERCE (FUEL SALES) AGAINST
 4                DEFENDANTS WEHRLY, STOCKTON, HA, AND AA
 5         35.    Plaintiffs repeat and reallege the contents of paragraphs 1 through 34
 6   as though set for at length herein.
 7         36.    That at all times relevant herein, there existed federal legislation, 15
 8   U.S.C. section 1 which provides in pertinent part:
 9                “Every contract, combination in the form of trust or
10                 otherwise, or conspiracy, in restraint of trade or commerce
11                 among the several states, or with foreign nations is declared
12                to be illegal...”
13         37.    Plaintiffs allege that airports and aircraft are instrumentalities of
14   interstate commerce and that services provided at an airport to aircraft, including but
15   not limited to aviation related leases and the dispensing of aviation fuel affect
16   interstate commerce.
17         38.    Plaintiffs allege that the Wehrly, HA, AA, and Stockton defendants by
18   reason of the recited acts hereinabove have conspired to restrain trade or commerce
19   among the several states and have violated 15 U.S.C. section 1 by taking actions
20   calculated to prevent and hinder Plaintiffs in the competing sale of fuel at the airport.
21         39.    15 U.S.C. section 15(a) provides that:
22                “Except as provided in subsection (b), any person who shall
23                 be injured in his business or property by reason of anything
24                 forbidden in the antitrust laws may sue therefor in any
25                 district court of the United States in the district in which the
26                 defendant resides or is found or has an agent, without respect to
27                 the amount in controversy, and shall recover threefold
28                 the damages by him sustained, and the cost of suit, including

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                 COMPLAINT FOR ANTITRUST VIOLATIONS , DECLARATORY AND INJUNCTIVE RELIEF
Case 2:20-cv-10744-PA-AS Document 1 Filed 11/24/20 Page 15 of 20 Page ID #:15


 1                 a reasonable attorney's fee. The court may award under this
 2                 section, pursuant to a motion by such person promptly made,
 3                 simple interest on actual damages for the period beginning on
 4                 the date of service of such persons’s pleading setting forth a claim
 5                 under the antitrust laws and ending on the date of judgment, or for
 6                 any shorter period therein, if the court finds that the award of such
 7                 interest for such period is just in the circumstances.”
 8   Plaintiffs are therefore entitled to recover triple damages from Defendants Wehrly,
 9   AA, HA, and Stockton as will be shown at time of trial according to proof together
10   with attorney fees incurred in bringing this action. Plaintiffs allege that they are also
11   entitled to injunctive relief prohibiting these defendants from further interference
12   with Plaintiffs’ fueling operations pursuant to 15 U.S.C. section 26.
13                FOR A SECOND CLAIM FOR RELIEF FOR VIOLATION
14                OF 15 U.S.C. SECTION 2 FOR UNLAWFUL ATTEMPT TO
15                MONOPOLIZE FUEL SALES AND AIRPORT SERVICES
16                AGAINST ALL DEFENDANTS
17         40.    Plaintiffs repeat and reallege the contents of paragraphs 1 through 39
18   as though set for at length herein.
19         41.    That at all times relevant herein, there existed federal legislation, 15
20   U.S.C. section 2 which prohibits any person from monopolizing or attempting to
21   monopolize, or combine or conspire with any other person or persons to monopolize
22   any part of the trade or commerce among the several states, or with foreign nations.
23         42.    Plaintiffs allege that airports and aircraft are instrumentalities of
24   interstate commerce and that services provided at an airport to aircraft, including but
25   not limited to aviation related leases and the dispensing of aviation fuel affect
26   interstate commerce.
27         43     Plaintiffs allege that the Wehrly, HA, AA, and Stockton defendants by
28   reason of the recited acts hereinabove have attempted to restrain trade or commerce

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                 COMPLAINT FOR ANTITRUST VIOLATIONS , DECLARATORY AND INJUNCTIVE RELIEF
Case 2:20-cv-10744-PA-AS Document 1 Filed 11/24/20 Page 16 of 20 Page ID #:16


 1   among the several states, have conspired among themselves to do so, and have
 2   violated 15 U.S.C. section 2 by taking actions calculated to prevent and hinder
 3   Plaintiffs in the competing sale of fuel at the airport.
 4           44.    Plaintiffs further allege that the master lease between the City and HA
 5   together with the options for sections 3, 8, and 10 grants to HA a defacto monopoly
 6   over all airport operations. HA and AA’s single service provider monopolistic status
 7   discriminates against members of the general public seeking to do business at the
 8   airport and thereby restrains interstate trade or commerce in violation of 15 U.S.C.
 9   section 2. The master lease options given to HA are also contrary to federal policy as
10   set forth in 49 U.S. C. Section 40103 (e) because the airport has received grant
11   assurances. Plaintiffs are therefore entitled to declaratory and injunctive relief
12   pursuant to 15 U.S.C. section 26 requiring the City to revoke the sections 3, 8, and 10
13   Ground Lease options granted to HA and award a section 8 lease to Plaintiffs with
14   sections 3 and 10 being either retained by the City or made available to existing
15   subtenants of HA in those sections. Plaintiffs are also informed and believe that HA
16   has not paid rent on sections 3, 8, and 10 since the options were exercised in
17   violation of Grant Assurance 24 which has allowed HA, AA, Wehrly, and Stockton
18   to be unjustly enriched by collecting rent from subtenants, but not paying rent to the
19   City.
20           45.    Pursuant to 15 U.S.C. section 15(a) Plaintiffs are also entitled to
21   recover triple damages from Defendants Wehrly, AA, HA, and Stockton as will be
22   shown at time of trial according to proof together with attorney fees incurred in
23   bringing this action. Plaintiffs allege that they are also entitled to injunctive relief
24   prohibiting these defendants from further attempting to restrain commerce with
25   Plaintiffs’ fueling operations pursuant to 15 U.S.C. section 26.
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                   COMPLAINT FOR ANTITRUST VIOLATIONS , DECLARATORY AND INJUNCTIVE RELIEF
Case 2:20-cv-10744-PA-AS Document 1 Filed 11/24/20 Page 17 of 20 Page ID #:17


 1                FOR A THIRD CLAIM FOR DECLARATORY RELIEF
 2                THAT SECTION 10.4 IS VOID BY OPERATION OF
 3                CALIFORNIA BUSINESS & PROFESSIONS CODE
 4                SECTION 16600 AGAINST DEFENDANTS WEHRLY,
 5                HA, AA, AND STOCKTON
 6         46.    Plaintiffs repeat and reallege the contents of paragraphs 1 through 34
 7   as though set for at length herein.
 8         47.    At all times mentioned herein there existed California State law,
 9   California Business & Professions Code section 16600 which provides as follows:
10                “Except as provided in this chapter, every contract by which
11                anyone is restrained from engaging in a lawful profession, trade,
12                or business of any kind is to that extent void.”
13         48.    Wolfe contends that Section 10.2 of the partnership buyout agreement
14   which purports to restrict fuel sales is void as a matter of law by operation of section
15   16600.
16         49.    Wolfe seeks a determination at this time that section 10.2 is void and
17   unenforceable and cannot serve as an impediment to selling fuel at the airport.
18                FOR A FOURTH CLAIM FOR RELIEF FOR NUISANCE
19                ABATEMENT AGAINST DEFENDANTS WEHRLY, HA, AA,
20                AND STOCKTON
21         50.    Plaintiffs repeat and reallege the contents of paragraphs 1 through 34
22   as though set for at length herein.
23         51.    California Civil Code § 3479 defines what constitutes a “nuisance” as:
24                “Anything which is injurious to health, including, but not
25                limited to, the illegal sale of controlled substances, or is indecent or
26                 offensive to the senses, or an obstruction to the free use of property,
27                 so as to interfere with the comfortable enjoyment of life or property,
28                 or unlawfully obstructs the free passage or use, in the customary

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                 COMPLAINT FOR ANTITRUST VIOLATIONS , DECLARATORY AND INJUNCTIVE RELIEF
Case 2:20-cv-10744-PA-AS Document 1 Filed 11/24/20 Page 18 of 20 Page ID #:18


 1                 manner, of any navigable lake, or river, bay, stream, canal, or basin,
 2                 or any public park, square, street, or highway, is a nuisance.”
 3         52.    Plaintiffs allege that the fence erected by defendants serves no legitimate
 4   purpose and was intended to obscure Plaintiff’s fuel farm, and was built without
 5   permits and/or permission from the City and is therefore a nuisance.
 6         53.    Plaintiffs are “persons” adversely affected by the nuisance and therefore
 7   have standing to seek an order of abatement, damages, and any other appropriate
 8   relief such as a permanent injunction directing the Defendants to remove the fence.
 9   Code of Civil Procedure § 731 is captioned, “Persons entitled to bring abatement
10   suit” and provides as follows:
11                “An action may be brought by any person whose property
12                 is injuriously affected, or whose personal enjoyment is lessened
13                 by a nuisance, as defined in Section 3479 of the Civil Code, and
14                 by the judgment in that action the nuisance may be enjoined or
15                 abated as well as damages recovered therefor. A civil action may
16                 be brought in the name of the people of the State of California to
17                 abate a public nuisance, as defined in Section 3480 of the Civil
18                 Code, by the district attorney or county counsel of any county in
19                 which the nuisance exists, or by the city attorney of any town or
20                 city in which the nuisance exists. ...”
21         54.    As a direct and legal result of the nuisance maintained by the
22   Defendants against whom this claim for relief is directed, Plaintiffs have been
23   adversely affected and are entitled to an award of monetary damages as will be stated
24   at time of trial together with an order of abatement and a permanent injunction.
25         Wherefore, Plaintiffs pray for judgment as follows:
26         ON THE FIRST CLAIM FOR RELIEF
27         1.     For general damages as will be shown at time of trial;
28         2.     For triple damages pursuant to 15 U.S.C. section 15(a);

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                 COMPLAINT FOR ANTITRUST VIOLATIONS , DECLARATORY AND INJUNCTIVE RELIEF
Case 2:20-cv-10744-PA-AS Document 1 Filed 11/24/20 Page 19 of 20 Page ID #:19


 1          3.      For injunctive relief prohibiting the further restraint of fueling
 2   competition at the airport;
 3          4.      For attorney fees as provided by 15 U.S. C. Section 15(a);
 4          5.      For cost of suit incurred herein.
 5          ON THE SECOND CLAIM FOR RELIEF
 6          1.      For general damages as will be shown at time of trial;
 7          2.      For triple damages pursuant to 15 U.S.C. section 15(a);
 8          3.      For injunctive relief prohibiting the further restraint of fueling
 9   competition at the airport;
10          4.      For declaratory relief declaring that the City’s Ground
11   Lease options for sections 3, 8 and 10 given to HA were in violation of 49 U.S. C.
12   Section 40103 (e) and Grant Assurances 5, 22, 23, 24 and 25;
13          5.      For an injunction or other remedial order requiring the City to revoke
14   the Ground lease with HA as to sections 3, 8 and 10 and awarding a section 8 lease to
15   Plaintiffs;
16          6.      For attorney fees as provided by 15 U.S. C. Section 15(a);
17          7.      For cost of suit incurred herein;
18          ON THE THIRD CLAIM FOR RELIEF
19          1.      For a declaration that Section 10.2 of the partnership buyout agreement
20   which purports to restrict fuel sales is void as a matter of law by operation of section
21   16600;
22          2.      For cost of suit incurred herein.
23          ON THE FOURTH CLAIM FOR RELIEF
24          1.      For general damages as will be shown at time of trial according to proof;
25          2.      For an order of abatement requiring Wehrly, HA, AA, and Stockton to
26   remove the fence they erected adjacent to Plaintiffs’ fueling facility;
27          3.      For costs of suit incurred herein.
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                   COMPLAINT FOR ANTITRUST VIOLATIONS , DECLARATORY AND INJUNCTIVE RELIEF
Case 2:20-cv-10744-PA-AS Document 1 Filed 11/24/20 Page 20 of 20 Page ID #:20


 1                           DEMAND FOR TRIAL BY JURY
 2        Plaintiffs hereby demand a trial by jury in the within case.
 3

 4   Dated: November 24, 2020                FRANCESCHI LAW CORPORATION
 5

 6                                         By /s/Ernest J. Franceschi, Jr.
                                                Ernest J. Franceschi, Jr.
 7                                              Attorney for Plaintiffs
                                         HAWTHORNE HANGER OPERATIONS, L.P.
 8                                              and DAN WOLFE
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               COMPLAINT FOR ANTITRUST VIOLATIONS , DECLARATORY AND INJUNCTIVE RELIEF
